        Case 4:07-cv-05944-JST Document 1844-1 Filed 08/13/13 Page 1 of 2




     JEFFREY L. KESSLER (pro hac vice)
 1   A. PAUL VICTOR (pro hac vice)
 2   ALDO A. BADINI (257086)
     EVA W. COLE (pro hac vice)
 3   MOLLY M. DONOVAN (pro hac vice)
     WINSTON & STRAWN LLP
 4   200 Park Avenue
     New York, New York 10166-4193
 5
     Telephone: (212) 294-6700
 6   Facsimile: (212) 294-7400
     Email: jkessler@winston.com
 7
     STEVEN A. REISS (pro hac vice)
 8   DAVID L. YOHAI (pro hac vice)
     ADAM C. HEMLOCK (pro hac vice)
 9   WEIL, GOTSHAL & MANGES LLP
10   767 Fifth Avenue
     New York, New York 10153-0119
11   Telephone: (212) 310-8000
     Facsimile: (212) 310-8007
12   Email: steven.reiss@weil.com
13   Attorneys for Defendants Panasonic Corporation of North America, MT Picture Display Co., Ltd.,
     and Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
14

15                           IN THE UNITED STATES DISTRICT COURT
16                             NORTHERN DISTRICT OF CALIFORNIA
17                                     SAN FRANCISCO DIVISION
18   In re: CATHODE RAY TUBE (CRT) ANTITRUST ) Case No. 07-5944 SC
     LITIGATION                                              ) MDL. No. 1917
19                                                           )
     This Document Relates to:                                 [PROPOSED] ORDER SEALING
20                                                             DOCUMENTS
     Sharp Electronics Corporation, et al. v. Hitachi, Ltd.,
21   et al. Case No. 13-cv-1173
22
            Having considered the parties’ submissions regarding whether certain documents Plaintiffs
23

24   Sharp Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.

25   (together, “Sharp”) lodged with the Court should be filed under seal, and good cause appearing:

26          IT IS HEREBY ORDERED that the following documents currently lodged with the Court
27
     pursuant to Civil Local Rule 79-5(d) shall be maintained under seal:
28
                                                    -1–
     [PROPOSED] ORDER SEALING DOCUMENTS                                                     MDL No. 1917
        Case 4:07-cv-05944-JST Document 1844-1 Filed 08/13/13 Page 2 of 2




                    1.     Sharp’s Opposition to Thomson S.A.’s Motion to Dismiss for Lack of
 1

 2   Personal Jurisdiction (Dkt. No. 1835) (“Opposition Brief”) that contains information from

 3   documents that the Panasonic Defendants have designated “Highly Confidential;”

 4                  2.     Exhibit K to the Declaration of Craig A. Benson in Support of Sharp’s
 5
     Opposition Brief (“Benson Declaration”) that contains information from documents that the
 6
     Panasonic Defendants have designated “Highly Confidential;”
 7
                    3.     Exhibit O to the Benson Declaration that contains information from
 8
     documents that the Panasonic Defendants have designated “Highly Confidential;” and
 9

10                  4.     Exhibit UU to the Benson Declaration that contains information from

11   documents that the Panasonic Defendants have designated “Highly Confidential.”
12          IT IS FURTHER ORDERED that, to maintain the effect of the seal under Civil Local Rule
13
     79-5(f), the parties, their counsel, and their declarants shall not publicly disseminate or discuss any
14
     of the sealed documents or their contents absent further order of the Court.
15

16   IT IS SO RECOMMENDED.
17
     Dated:___________________                    _____________________________________________
18                                                             Hon. Charles A. Legge
                                                                   Special Master
19
     IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.
20

21   Dated:___________________                    _____________________________________________
                                                                 Hon. Samuel Conti
22                                                           United States District Judge
23

24

25

26

27

28
                                                     -2–
     [PROPOSED] ORDER SEALING DOCUMENTS                                                       MDL No. 1917
